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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

         UNITED STATES OF AMERICA    :  CASE NO.
                                     :
                                v.   :
                                     :  VIOLATIONS:
           ANTHONY MASTANDUNO        :  18 U.S.C. §§111(a)(1) and b
                                     :  (Forcibly assault, resist, oppose, impede, intimidate, or interfere with
                                        certain designated individuals)
                     Defendant.      :  18 U.S.C. § 1752(a)(1)
                                        (Entering and Remaining in a Restricted Building or Grounds)
                                     :  18 U.S.C. § 1752(a)(2)
                                     :  (Disorderly and Disruptive Conduct in a Restricted Building or
                                        Grounds)
                                     :  18 U.S.C. § 1752(a)(4)
                                        (Physical violence against any person or property in any restricted
                                     :  building or grounds)
                                     :  40 U.S.C. § 5104(e)(2)(D)
                                        (Utter Loud, Threatening, or Abusive Language, or Engage in
                                     :  Disorderly or Disruptive Conduct, at any Place in the Grounds or in
                                        any of the Capitol Building)
                                     :  40 U.S.C. § 5104(e)(2)(F)
                                     :  (Physical violence in the Grounds or any of the Capitol Buildings)
                                        40 U.S.C. § 5104(e)(2)(G)
                                     :  (Parade, Demonstrate, or Picket in any of the Capitol Buildings)
                                     :  18 U.S.C. § 231(a)(3)
                                        (Obstruct, impede, or interfere with any fireman or law enforcement
                                     :  officer)

       MOTION TO SEAL AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

         The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to place and maintain under seal, until the Arrest

Warrant is executed, the Affidavit in Support of Criminal Complaint, Criminal Complaint, and

Arrest Warrant in the above-captioned matter, this Motion and Supporting Memorandum, the

proposed Order attached to this Motion, and any Order granting this motion. In support thereof,

the government states as follows:

  1.       The United States is investigating allegations that Anthony Mastanduno willfully and

knowingly entered the United States Capitol grounds on January 6, 2021 without legal authority,

and participated in violent and disorderly conduct in violation of 18 U.S.C. §§111(a)(1) and b,

18 U.S.C. §§ 1752(a)(1), (2) and (4), 40 U.S.C. §§ 5104(e)(2)(D), (F), and (G), and 18 U.S.C. §

231(a)(3).The public disclosure of the Criminal Complaint before the defendant is
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arrested could compromise the integrity of the investigation, including the ability of the United

States to locate and arrest the defendant, and may lead to the destruction of evidence. Thus, a

sealing order is necessary to avoid seriously jeopardizing the ongoing investigation of this

matter.

          2.      As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),

there is a presumption of access to Court proceedings, but this can be overridden if “‘(1) closure

serves a compelling interest; (2) there is a substantial probability that, in the absence of closure,

this compelling interest would be harmed; and (3) there are no alternatives to closure that would

adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co.

v. United States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

          3.      In this matter, the United States has a compelling interest in preserving the

integrity of its investigation and arresting the defendant. A limited sealing order ensuring that

filings related to the Criminal Complaint and Arrest Warrant are not accessible from the Court’s

public files is narrowly tailored to serve a compelling interest.

          4.      Furthermore, the United States respectfully submits that complying with the

normal notice requirements of Washington Post would defeat the purpose of the motion to seal.

Persons who know the criminal justice system also know that docketing a motion to seal, an

Affidavit in Support of Criminal Complaint and Arrest Warrant, or a resulting sealing order,

means that the defendant is charged with a crime, and the Government intends to arrest him.

Thus, if this Motion or a sealing order were to become public, it would be the same as making

public the Complaint and Arrest Warrant.
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      WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court place and maintain under seal, until execution of the Arrest

Warrant, the Affidavit in Support of Criminal Complaint, this Motion and Supporting

Memorandum, the proposed Order attached to this Motion, and any Order granting this motion.

                                             Respectfully submitted,

                                             MATTHEW GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052




                                              By: /s/ Samantha R. Miller
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